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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION

  In re:
                                                     Chapter 11
  LECLAIRRYAN PLLC,
                                                     Case No. 19-34574 (KRH)
  Debtor.

   MOTION FOR LEAVE TO WITHDRAW THE APPEARANCE OF ALEXANDER R.
                GREEN AS COUNSEL FOR iMANAGE, LLC

           Undersigned counsel hereby requests leave to withdraw the appearance of Alexander R.

 Green as counsel for iManage, LLC (“iManage”), and in support thereof states as follows:

           1.     Undersigned counsel is transitioning from the law firm of Clark Hill PLC to a

 position with a new firm and therefore can no longer act as counsel of record for iManage.

           2.     iManage, through counsel, has consented to undersigned counsel’s withdrawal of

 his appearance as counsel of record for iManage.

           3.     Accordingly, undersigned counsel respectfully submits that sufficient cause exists

 for his appearance to be withdrawn and that he has provided reasonable notice to iManage.

           WHEREFORE, undersigned counsel respectfully requests that the Court grant this Motion

 and enter the attached proposed order removing Alexander R. Green as counsel of record for

 iManage in this case.



 Dated February 27, 2022                       Respectfully Submitted,



                                               /s/ Alexander R. Green
                                               Alexander R. Green (VSB No. 83937)
                                               CLARK HILL PLC
                                               1001 Pennsylvania Avenue NW
                                               Suite 1300 South
                                               Washington, D.C. 20004
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                                       CERTIFICATE OF SERVICE

         I hereby certify that on this 27th day of February, 2022, a true a correct copy of the above

 and foregoing was electronically filed with the Clerk of the Court through CM/ECF, which will

 send notice to all counsel of record.



                                               /s/ Alexander R. Green
                                               Alexander R. Green (VSB No. 83937)
                                               CLARK HILL PLC




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